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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                              Chapter 7

143-30 SANFORD AVE LLC,                                             Case No.: 23-43812-nhl

                           Debtor.
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     ORDER CONFIRMING RESULTS OF THE SALE OF THE DEBTOR’S REAL
    PROPERTY AND IMPROVEMENTS LOCATED AT 143-30 SANFORD AVENUE,
                     FLUSHING, NEW YORK 11355

        Upon the Order dated May 24, 2024 [ECF No. 17] approving, inter alia, a stipulation

(“Sale Stipulation”)1 among Lori Lapin Jones, solely in her capacity as the Chapter 7 Trustee

(“Trustee”) of 143-30 Sanford Ave LLC (“Debtor”), Sanford Funding LLC and Gerard A.

Geisweller, Esq. respecting the sale of the Debtor’s real property and improvements located at

143-30 Sanford Avenue, Flushing, New York 11355 (“Property”) and authorizing, inter alia, a

public auction sale of the Property; and upon the Notice To Creditors And Other Parties In

Interest Of Chapter 7 Trustee’s Intended Sale [ECF No. 20] and the related Affidavit of Service

[ECF No. 23]; and upon the Amended Notice To Creditors And Other Parties In Interest Of

Chapter 7 Trustee’s Intended Sale [ECF No. 24] and the related Affidavit of Service [ECF No.

26]; and upon the public auction sale of the Property conducted on August 8, 2024 (“Sale”); and

upon that portion of the Trustee’s motion (“Motion”) [ECF No. 9] seeking entry of an order

pursuant to sections 105 and 363 of title 11 of the United States Code (“Bankruptcy Code”) and

Rules 2002(a)(2) and 6004 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”):

(i) approving the sale of the Property pursuant to sections 363(f), (m) and (n) of the Bankruptcy

Code; and (ii) approving and granting such other, further and different relief as this Court deems


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        Unless otherwise defined herein, capitalized terms shall have the same meanings ascribed to them in the
        Sale Stipulation.

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just and proper; and upon the Affidavit of Victor Moneypenny (“Affidavit”) [ECF No. 33], a

principal shareholder of the Trustee’s retained real estate broker, MYC & Associates, Inc.

(“MYC”), in support of entry of an Order, inter alia, confirming the results of the Sale of the

Property to Sanford Funding LLC for the credit bid of three million dollars ($3,000,000)

(“Purchase Price”) to cover the Lender Sale Carve-Out (as defined in paragraph 14 of the Sale

Stipulation); and a hearing having been conducted on August 14, 2024 (“Hearing”), at which

appeared J. Ted Donovan (Counsel to Sanford Funding), and Holly R. Holecek (Counsel to

Trustee); and upon the record of the Hearing, the transcript of which is incorporated by reference

herein; and upon the Declaration of Good Faith Purchaser filed on behalf of Sanford Realty

Management LLC [ECF No. 35]; and no additional notice or hearing being required, THE

COURT FINDS AND DETERMINES THAT:2

       A.      Proper, timely, adequate and sufficient notice of the Sale of the Property was

provided in accordance with sections 102 and 363 of the Bankruptcy Code and Bankruptcy Rules

2002, 4001 and 6004.

       B.      Creditors, parties-in-interest and other entities were afforded a reasonable

opportunity to bid on the Property.

       C.      The marketing process implemented by the Trustee and MYC, as set forth in the

Affidavit and at the Hearing, was fair, proper, complete and reasonably calculated to result in

maximizing value of and bids for the Property.

       D.      The offer from Sanford Funding LLC to purchase the Property for the Purchase

Price (“Bid”) is the highest and best offer received by the Trustee after marketing and a fair and

open sale process and, in fact, was the only offer received by the Trustee at the Sale.


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       Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
       findings of fact, when appropriate. See FED. R. BANKR. P. 7052.
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       E.      Following the Sale, Sanford Funding LLC exercised its right under paragraph 14

of the Sale Stipulation to assign its Bid and Sanford Funding LLC did assign its Bid to Lev

Wolkowicki, who is the sole member of Sanford Realty Management LLC (“Designee”);

       F.      The sale to Sanford Funding LLC or its Designee is an arm’s-length transaction

entered into by the Trustee and Sanford Funding LLC or its Designee without collusion, in good

faith and from arm’s-length bargaining positions.

       G.      Sanford Funding LLC and its Designee have not acted in a collusive manner with

any person and the Purchase Price was not controlled by any agreement among bidders.

       H.      In the absence of a stay pending appeal prior to the closing, Sanford Funding LLC

or its Designee will be acting in good faith pursuant to section 363(m) of the Bankruptcy Code in

closing on the sale of the Property after the entry of this Order.

       I.      Sanford Funding LLC and its Designee (hereinafter, “Purchaser”) are each a good

faith purchaser of the Property within the meaning of section 363(m) of the Bankruptcy Code

and is therefore entitled to all the protections afforded thereby.

NOW THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      Pursuant to sections 363(b), (f) and (m) of the Bankruptcy Code, the Trustee is

authorized to sell the Property to the Purchaser for the Purchase Price in accordance with the

Sale Stipulation.

       2.      The Purchaser must close title to the Property within thirty (30) days from the

entry of this Order, TIME BEING OF THE ESSENCE as to the Purchaser, although such date

may be extended solely by the Trustee.

       3.      The Property shall be sold to the Purchaser: (a) “AS IS” “WHERE IS”, “WITH

ALL FAULTS,” without any representations, covenants, guarantees or warranties of any kind or
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nature whatsoever; (b) free and clear of any and all monetary interests of whatever kind or nature

including, but not limited to, liens, claims, encumbrances, monetary fines or penalties for

violations, judgments and/or mortgages (collectively, “Interests”), with such Interests, if any, to

attach to the proceeds of sale in such order and priority as they existed immediately prior to the

entry of the Order for Relief against the Debtor; and (c) subject to, among other things: (i) any

occupancies and/or tenancies; (ii) any state of facts that an accurate survey may show; (iii) any

state of facts a physical inspection may show; (iv) any covenants, restrictions and easements of

record; (v) any building or zoning ordinances or other applicable municipal regulations and

violations thereof; (vi) environmental conditions; and (vii) the conditions giving rise to any and

all non-monetary violations existing on the Property as of the Closing Date.

       4.      If the Purchaser closes on the sale of Property at any time on or after the entry of

this Order, the parties shall be entitled to the protections of section 363(m) of the Bankruptcy

Code on appeal, provided further that the purchase of the Property by the Purchaser constitutes a

good faith purchase for fair value within the meaning of section 363(m) of the Bankruptcy Code.

       5.      The sale of Property approved by this Order is not subject to avoidance under

section 363(n) of the Bankruptcy Code.

       6.      Each and every federal, state and local government agency or department is

directed to accept any and all documents necessary and appropriate to consummate the sale of

Property outlined herein, and a copy of this Order may be filed in any place where state, federal

or local law permits filing or recording.

       7.      Nothing contained in this Order shall modify the terms of the Sale Stipulation

including, but not limited to, the obligation of Sanford Funding LLC to fund the entire Lender

Sale Carve-Out in exchange for the delivery of a Trustee’s Deed for the Property to the
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Purchaser, and nothing contained herein shall be a waiver of any of the Trustee’s and estate’s

rights under the Sale Stipulation.

       8.      This Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.




 Dated: November 8, 2024                                     ____________________________
        Brooklyn, New York                                         Nancy Hershey Lord
                                                              United States Bankruptcy Judge
